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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )            8:06CR23
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
JEREMY KNUDSEN,                                    )
MARQUE MILLER,                                     )
JEREMY TORPY and                                   )
JUSTIN ZELENY,                                     )
                                                   )
                     Defendants.                   )
       This matter is before the court on the motion to continue by defendants Jeremy
Torpy (Torpy) (Filing No. 38) and Justin Zeleny (Zeleny) (Filing No. 39). The defendants
seek a continuance of the trial scheduled for April 10, 2006. Moving counsel represent that
counsel for the government has no objection to the motions. Upon consideration, the
motions will be granted.
       IT IS ORDERED:
       1.     Torpy's and Zeleny's motions to continue trial (Filings No. 38 and 39) are
granted.
       2.     Trial of this matter as to all defendants is re-scheduled for June 5, 2006,
before Chief Judge Joseph F. Bataillon and a jury. The ends of justice have been served
by granting such motions and outweigh the interests of the public and the defendants in a
speedy trial. The additional time arising as a result of the granting of the motions, i.e., the
time between April 5, 2006 and June 5, 2006, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).
       DATED this 5th day of April, 2006.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
